                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    SARAH SCHMIEDER, individually and on
    behalf of a nationwide class of similarly
    situated individuals,
                                                          Case No. 1:19-cv-05457
           Plaintiff,

              v.

    NORTHWEST COLLECTORS, INC.,                           JURY TRIAL DEMANDED

       Defendant.

                                    CLASS ACTION COMPLAINT

            Plaintiff SARAH SCHMIEDER (“Plaintiff”) by and through her attorney, James C.

Vlahakis, brings this this civil action pursuant to the Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227, et seq., for statutory damages, declaratory relief and

injunctive relief:

      I.           Introduction

            1.       Plaintiff is a resident of this judicial District and between June, 2019, to

present day (hereafter, “the time of the calls in question”), her cellular telephone number

has been 630-XXX-2412.1

            2.       Defendant NORTHWEST COLLECTORS, INC. (“Northwest” or “Defendant”)

is being sued because it called Plaintiff’s cellular telephone number in violation of the

TCPA.

            3.       The TCPA makes it unlawful for a person to call another person’s cellular

telephone using an “automatic telephone dialing system” or “artificial or prerecorded



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  If requested by Defendant, Plaintiff’s counsel will provide Defendant with Plaintiff’s complete
number. Accordingly, Plaintiff’s decision to not list her full number in this public filing is not an
invitation for Defendant to answer whether it called Plaintiff by stating that it “lacks knowledge
or information sufficient to form a belief about the truth of an allegation.”

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voice” without the express consent of the person being called. 47 U.S.C. §

227(b)(1)(A)(iii).

         4.       During the time of the calls in question, Defendant called Plaintiff’s cellular

telephone number without her express permission for the purpose of attempting to

collect a debt stemming from a red light violation (“subject debt”).

         5.       Each of the calls caused by Defendant violated the TCPA because

Defendant’s calls were placed with an “automatic telephone dialing system” (“ATDS”),

as defined by 47 U.S.C. § 227(a)(1) and the calls were placed without Plaintiff’s

permission.

         6.       Defendant violated Section 227(b)(1)(A)(iii) of the TCPA because on certain

occasions when Plaintiff did not answer Defendant’s calls, Defendant would leave

Plaintiff a pre-recorded voicemail message.

         7.       Defendant violated Section 227(b)(1)(A)(iii) of the TCPA because it did not

have Plaintiff’s permission to call her cellular phone number with an ATDS or leave pre-

recorded messages on her voicemail.

   II.         Parties, Jurisdiction and Venue

         8.       During the relevant time period of June 2019, to the present day, Plaintiff

was a citizen and resident of the State of Illinois, and a natural “person” as defined by

47 U.S.C. §153(39).

         9.       During the relevant time-period of June 2019, to the present day,

Plaintiff’s cellular telephone number was 630-XXX-2412 (hereafter “Plaintiff’s cellular

number”).

         10.      Defendant is incorporated under the laws of the State of Delaware and is

headquartered in Rolling Meadows, Illinois.




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       11.     Defendant is, and at all times mentioned herein was, a corporation and a

“person” as defined by 47 U.S.C. §153(39).

       12.     Subject matter jurisdiction exists pursuant to 28 U.S.C. §§1331 and 1337

because this is a civil action for damages arising pursuant to the TCPA and this case

arises out of violation of federal law.

       13.     Venue is proper in the Northern District of Illinois (“District”) pursuant to

18 U.S.C. § 1391(b) because Plaintiff resides in this District and Defendant is subject to

personal jurisdiction within this District by virtue of the fact that it has conducted

significant and continuous business conduct within the District.

       14.     Venue and personal jurisdiction exist in this District pursuant to U.S.C.

§§ 1391(b)-(c) and 1441(a) because Defendant, as a corporation, is deemed to reside in

any judicial district in which it is subject to personal jurisdiction at the time a civil

action is commenced.

   III.      Summary of the TCPA and Certain Statutory Definitions

       15.     The TCPA makes it unlawful for a person “to make any call (other than a

call made for emergency purposes or made with the prior express consent of the called

party) using any automatic telephone dialing system or an artificial or prerecorded voice

. . . to any telephone number assigned to a paging service, cellular telephone service,

specialized mobile radio service, or other radio common carrier service, or any service

for which the called party is charged for the call.” 47 U.S.C. § 227(b)(1)(A)(iii).

       16.     47 CFR 64.1200(a)(1)(iii) provides that "[n]o person or entity may: . . .

initiate any telephone call (other than a call . . . made with the prior express consent of

the called party) using an automatic telephone dialing system or an artificial or

prerecorded voice . . . (iii) To any telephone number assigned to a paging service, cellular




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telephone service, specialized mobile radio service, or other radio common carrier

service, or any service for which the called party is charged for the call.”

       17.    In enacting the TCPA, Congress wrote that “the evidence presented to the

Congress indicates that automated or prerecorded calls are a nuisance and an invasion

of privacy, regardless of the type of call….” Telephone Consumer Protection Act of 1991,

Pub. L. 102–243, §§ 2, ¶¶ 5, 10, 12, 13, 105 Stat. 2394 (1991) (emphasis supplied).

       18.    Section 227(a)(1) of the TCPA defines the term “automatic telephone

dialing system” (hereafter “ATDS”) to mean “equipment which has the capacity - (A) to

store or produce telephone number to be called, using a random or sequential number

generator’ and (B) to dial such numbers.”

       19.    Pursuant to 47 CFR § 64.1200(f)(8), the term “prior express written

consent” means:

              an agreement, in writing, bearing the signature of the person called
              that clearly authorizes the seller to deliver or cause to be delivered
              to the person called advertisements or telemarketing messages
              using an automatic telephone dialing system or an artificial or
              prerecorded voice, and the telephone number to which the signatory
              authorizes such advertisements or telemarketing messages to be
              delivered.

       20.    Section 64.1200(f)(8) states that a written agreement shall:

               (i) . . . include a clear and conspicuous disclosure informing the person
              signing that:
                  (A) By executing the agreement, such person authorizes the seller to
              deliver or cause to be delivered to the signatory telemarketing calls using
              an automatic telephone dialing system or an artificial or prerecorded
              voice; and
                 (B) The person is not required to sign the agreement (directly or
              indirectly), or agree to enter into such an agreement as a condition of
              purchasing any property, goods, or services.

       21.    Plaintiff did not consent to allow Defendant to call her cellular telephone

numbers with an ATDS.



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        22.   Defendant knew or should have known that a person’s consent was

required before it could call a person’s cell phone number with an ATDS.

        23.   Defendant knew or should have known that a person’s consent was

required before it could call a person’s cell phone number and play or leave a pre-

recorded message.

        24.   Defendant called Plaintiff’s cellular phone and that of other people with an

ATDS without first obtaining their consent.

        25.   Defendant called Plaintiff’s cellular phone and that of other people and left

pre-recorded messages without first obtaining their consent.

        26.   Defendant did not stop calling Plaintiff with an ATDS despite her telling to

Defendant to stop calling her.

        27.   Defendant did not stop calling Plaintiff and leaving pre-recorded messages

despite her telling Defendant to stop calling her.

        28.   Alternatively, to the extent Defendant contends that it somehow obtained

Plaintiff’s consent to call her with an ATDS, Plaintiff explicitly revoked any consent

purportedly provided when she answered Defendant’s collection calls placed or initiated

by Defendant (or made on Defendant’s behalf) where Plaintiff stated that she did not

want to be called with an automated dialer.

        29.   On information and belief, Defendant did not stop calling other persons

(“Class Members”) with an ATDS after Class Members told Defendant to stop calling

them.

        30.   On information and belief, Defendant did not stop calling Class Members

with pre-recorded messages after Class Members told Defendant to stop calling them.




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         31.     Defendant did not have a system in place to stop Defendant from

continuing to make ATDS based calls after Plaintiff and other Class Members told

Defendant to stop calling.

   IV.         Summary of Defendant’s Telephone Calls and General Practices

         32.     In the calls Plaintiff answered, Plaintiff was greeted by a noticeable period

of “dead air” while Defendant’s telephone system attempted to connect Plaintiff to a live

agent.

         33.     On information and belief, when Class Members answered Defendant’s

calls, Class Members were greeted by a noticeable period of “dead air” while Defendant’s

telephone system attempted to connect Class Members to live agents.

         34.     In most calls, there would be an approximate three second pause between

the time Plaintiff said “hello?”, and when a person working for Defendant responded to

Plaintiff’s greeting.

         35.     On information and belief, when Class Members would answer

Defendant’s calls, Class Members would experience similar pauses between the time

they answered “hello?”, and when a person working for Defendant responded to a Class

Member’s greeting.

         36.     Plaintiff has also answered calls where she has heard background noise

and sounds that exist in a call center where multiple people are speaking on other calls

in close proximity to each other.

         37.     On information and belief, when Class Members would answer

Defendant’s calls, Class Members would hear similar background noises when they

answered Defendant’s calls.

         38.     In some of the calls Plaintiff answered, Plaintiff would be greeted by a pre-

recorded message asking her to “please hold.”


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        39.     On information and belief, Defendant left similar pre-recorded “please

hold” messages when Class Members answered Defendant’s calls.

        40.     When Plaintiff did not answer Defendant’s calls, Defendant would often

leave Plaintiff a pre-recorded voice mail message stating, “Hello we have an important

message from Northwest Collectors, Inc. this message is from a debt collector please call

877-297-7246 Monday through Friday 8:30 AM to 5 PM central standard time thank

you.”

        41.     On information and belief, Defendant left similar pre-recorded voice mail

messages on the voice-mails of Class Members.

        42.     The phone number that Defendant most often used to contact Plaintiff is

(847) 255-8300, but upon information and belief, Defendant used other phone numbers

to contact Plaintiff.

        43.     As a general matter, the persons who eventually spoke with Plaintiff would

indicate that they were calling from Defendant in an attempt to collect a debt resulting

from a traffic violation.

        44.     Defendant’s harassing phone calls have severely disrupted Plaintiff’s daily

life and general well-being.

   V.         Plaintiff Has Been Injured by Defendant’s Calls

        45.     Plaintiff owns her cellular telephone number and is responsible for paying

for her cell phone service.

        46.     Defendant’s illegal phone calls have caused Plaintiff actual harm,

including but not limited to, invasion of privacy, nuisance and intrusion upon seclusion.

        47.     Defendant’s illegal phone calls have caused Plaintiff actual harm by

diminishing her use of her cellular telephone, power and battery consumption, wear

and tear caused to her cellular telephone, reduced battery charge life, and the per-


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kilowatt electricity costs required to recharge her cellular telephone as a result of

increased usage of her telephone services.

         48.     Defendant’s illegal phone calls have caused Plaintiff dread answering her

phone for fear that Defendant is calling.

         49.     Defendant’s phone harassment campaign and illegal collection activities

have also caused Plaintiff to suffer harassment, emotional distress, anxiety, loss of

concentration and time-wasting of daily aspects of life.

         50.     In addition, each time Defendant placed a telephone call to Plaintiff,

Defendant occupied Plaintiff’s telephone number such that Plaintiff was unable to

receive other phone calls.

         51.     Based upon Plaintiff’s experience with Defendant’s harassing calls, upon

information and belief, Class Members were similarly harassed.

   VI.         Causes of Action

         Count I - Individual Claim for Violating § 227(b)(1)(A)(iii) of the TCPA

         52.     Plaintiff incorporates the above paragraphs as if fully set forth above.

         53.     Section 227(b)(1)(A)(iii) of the TCPA makes it unlawful to use an “automatic

telephone dialing system” or an “artificial or prerecorded voice” to call a person’s cellular

telephone number “with[out] the prior express consent of the called party.”

         54.     Plaintiff never provided “prior express written consent” to Defendant to

allow or otherwise authorize it to call her cellular number with an “automatic telephone

dialing system or an artificial or prerecorded voice.”

         55.     Plaintiff never signed any document that contained any of the

requirements set forth by 47 CFR § 64.1200(f)(8).

         56.     Without Plaintiff’s prior express invitation or permission, Defendant

presumably and plausibly called Plaintiff’s cellular number with an “automatic


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telephone dialing system” or “autodialer” for the purpose of collecting on the subject

debt.

        57.   Plaintiff never gave Defendant permission to call her with an ATDS.

        58.   Defendant called Plaintiff’s cellular number with an ATDS because many

of the calls placed by Defendant resulted in dead air and long, unanswered pauses

before a human would respond to Plaintiff’s repeated “hello?” requests.

        59.   Defendant plausibly utilized an ATDS to randomly dial Plaintiff’s cellular

telephone number, because Plaintiff did not provide Defendant with her cellular

telephone number prior to any calls being placed by Defendant.

        60.   Alternatively, Defendant plausibly utilized an ATDS to sequentially dial

Plaintiff’s cellular telephone number (from a set of stored numbers), because Plaintiff

did not provide Defendant with her cellular telephone number prior to any calls being

placed by Defendant.

        61.   Defendant used an ATDS to place calls to Plaintiff’s cellular telephone

number based upon the frequency and persistence of the above described calls.

        62.   Defendant used an ATDS to place calls to Plaintiff’s cellular telephone

number because many of the calls resulted in Plaintiff hearing “please hold” in the form

of a pre-recorded message.

        63.   Defendant used an ATDS to place calls to Plaintiff’s cellular telephone

number because many of the calls resulted in Defendant leaving pre-recorded messages

on Plaintiff’s cellular number’s voice-mail.

        64.   As discussed above and asserted in the following Counts, the manner in

which Defendant plausibly utilized and ATDS to call Plaintiff took place according to

Defendant’s customs and practices.




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       65.      Alternatively, if Defendant used “voice drop” technology in an attempt to

suppress an actual call to Plaintiff’s cellular number but the technology resulted in a

pre-recorded message appearing in Plaintiff’s voice-mail, this technology would still

violate the TCPA because the technology would have still involved the use of an ATDS

based call and/or a call that resulted in the delivery of a pre-recorded message without

Plaintiff’s consent.

       66.      As a result of these violations, Plaintiff is entitled to at least $500 per

violation as provided by 42 U.S.C. § 227(b)(3)(B)-(C).

       WHEREFORE, Plaintiff is entitled to the following relief:

             a. Declare that the telephone calls placed by Defendant to Plaintiff’s cellular
                telephone number violated the TCPA;

             b. Award Plaintiff statutory damages of at least $500 for each violation ATDS
                and pre-recorded message based calls, for a total of $500.00; and

             c. Enjoin Defendant from future violations of the TCPA.

         Count II - Individual Claim for Willful Violations § 227(b)(1)(A)(iii)

       67.      Plaintiff incorporates the above paragraphs (and in particular the

allegations contained within Count I) as if fully set forth above

       68.      As set forth above, Defendant used an ATDS to place calls to Plaintiff’s

cellular telephone number.

       69.      As a result of Defendant repeatedly calling Plaintiff after she told

Defendant to stop calling her, Plaintiff is entitled to $1,500 per violation as provided by

42 U.S.C. § 227(b)(3)(B)-(C).

       70.      Plaintiff estimates that Defendant has called her at least 10 times since

she first told Defendant to stop calling her.

       WHEREFORE, Plaintiff is entitled to the following relief:

             a. Declare that the telephone calls placed by Defendant to Plaintiff’s cellular
                telephone number violated the TCPA;

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             b. Award Plaintiff statutory damages of $1,500 for each violation after
                Plaintiff told Defendant to stop calling her for a total of $15,00.00; and

             c. Enjoin Defendant from future violations of the TCPA.



       Count III – Illinois Based Class Action For Violating § 227(b)(1)(A)(iii)

       71.      Plaintiff incorporates the above paragraphs as if fully set forth above.

       72.      At least forty persons in the State of Illinois were plausibly called by an

ATDS in a similar manner to how Plaintiff was called with an ATDS.

       73.      At least forty persons in the State of Illinois were plausibly called by an

ATDS where the calls to these persons resulted in a pre-recorded message which stated

“please hold”.

       74.      At least forty persons in the State of Illinois were plausibly called by an

ATDS where the calls to these persons resulted in pre-recorded messages being left in

the voice-mails of their cellular phones.

       75.      Consistent with the types of calls received by Plaintiff, including the

frequency and manner in which the calls were received by Plaintiff, Defendant called at

least forty (40) cellular phone subscribers in the State of Illinois with an ATDS, as

defined by the TCPA , for the purpose of collecting on a debt, and did so without the

consent of the persons called.

       76.      Alternatively, if Defendant used “voice drop” technology in an attempt to

suppress an actual call to cellular numbers of Class Members but the technology

resulted in a pre-recorded message appearing in the voice-mails of Class Members, this

technology would still violate the TCPA because the technology would have still involved

the use of an ATDS based call and/or a call that resulted in the delivery of a pre-recorded

message without the consent of the Class Members.



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       77.      Plaintiff seeks relief on behalf of all similar situated residents of the State

of Illinois who can be defined as follows:

                all residents of the State of Illinois who were called on their cellular
                phones within the last four years by Defendant where Defendant
                placed the calls using an ATDS and Defendant was unable to
                furnish express prior consent of the called party before the calls
                were placed.

       78.      A defendant in a TCPA action bears the burden of demonstrating consent.

       79.      It is Defendant’s burden and obligation to exclude from these proposed

classes people who consented to the calls and messages in question.

       WHEREFORE, Plaintiff and similarly situated putative Class Members are

entitled to the following relief:

             a. Declare that the telephone calls placed by Defendant to
                residents of Illinois violated the TCPA;

             b. Award statutory damages of at least $500; and

             c. Enjoin Defendant from future violations of the TCPA.

     Count IV – Illinois Class Action For Willful Violations of § 227(b)(1)(A)(iii)

       80.      Plaintiff incorporates the above paragraphs (and in particular the

allegations set forth in Count III) as if fully set forth above.

       81.      Consistent with the types of calls received by Plaintiff, including the

frequency and manner in which the calls were received by Plaintiff, Defendant called at

least forty (40) cellular phone subscribers in the state of Illinois with an ATDS, as defined

by the TCPA , for the purpose of collecting on a debt, and did so without the consent of

the persons called.

       82.      Plaintiff seeks relief on behalf of all similar situated residents of the State

of Illinois who can be defined as follows:

               83. All residents of the State of Illinois who were called on their
                  cellular phones within the last four years by Defendant
                  where Defendant placed the calls using an ATDS or with a

                                                  12
                  pre-recorded message after           the   called    parties   told
                  Defendant to stop calling.

       84.      All ATDS based calls place to Class Members after Class Members told

Defendant to stop calling should result in liability of $1,500 per offense.

       85.      A defendant in a TCPA action bears the burden of demonstrating consent.

       86.      It is Defendant’s burden and obligation to exclude from these proposed

classes people who consented to the calls and messages in question.

       WHEREFORE, Plaintiff and similarly situated putative Class Members are

entitled to the following relief:

             a. Declare that the telephone calls placed by Defendant to
                residents of Illinois violated the TCPA;

             b. Award statutory damages to Class Members $1,500 for each
                violation; and

             c. Enjoin Defendant from future violations of the TCPA.



Count V – Nationwide Class Action For Violations of § 227(b)(1)(A)(iii) of the TCPA

       87.      Plaintiff incorporates the above paragraphs as if fully set forth above.

       88.      Well over forty persons in the United States were plausibly called by an

ATDS in a similar manner to how Plaintiff was called with an ATDS.

       89.      Well over forty persons in the United States were plausibly called by an

ATDS where the calls to these persons resulted in a pre-recorded message which stated

“please hold”.

       90.      Well over forty persons in the United States were plausibly called by an

ATDS where the calls to these persons resulted in pre-recorded messages being left in

the voice-mails of their cellular phones.

       91.      Consistent with the types of calls received by Plaintiff, including the

frequency and manner in which the calls were received by Plaintiff, Defendant called

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well over forty (40) cellular phone subscribers in the in the United States with an ATDS,

as defined by the TCPA , for the purpose of collecting on a debt, and did so without the

consent of the persons called.

       92.      Alternatively, if Defendant used “voice drop” technology in an attempt to

suppress an actual call to cellular numbers of Class Members but the technology

resulted in a pre-recorded message appearing in the voice-mails of Class Members, this

technology would still violate the TCPA because the technology would have still involved

the use of an ATDS based call and/or a call that resulted in the delivery of a pre-recorded

message without the consent of the Class Members.

       93.      Plaintiff seeks nationwide relief on behalf of all similar situated persons in

the United States who can be defined as follows:

                all persons in the United States with United States based telephone
                numbers who were called on their cellular phones within the last
                four years by Defendant where Defendant placed the calls using an
                ATDS and Defendant was unable to furnish express prior consent
                of the called party before the calls were placed.

       94.      A defendant in a TCPA action bears the burden of demonstrating consent.

       95.      It is Defendant’s burden and obligation to exclude from these proposed

classes people who consented to the calls and messages in question.

       WHEREFORE, Plaintiff and similarly situated putative Class Members are

entitled to the following relief:

             a. Declare that the telephone calls placed by Defendant to
                residents of Illinois violated the TCPA;

             b. Award statutory damages to Class Members $500 for each
                violation; and

             c. Enjoin Defendant from future violations of the TCPA.




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  Count VI – Nationwide Class Action For Willful Violations of § 227(b)(1)(A)(iii)

       96.      Plaintiff incorporates the above paragraphs (and in particular the

allegations set forth in Count V) as if fully set forth above.

       97.      Consistent with the types of calls received by Plaintiff, including the

frequency and manner in which the calls were received by Plaintiff, Defendant called at

least forty (40) cellular phone subscribers in the United States with an ATDS, as defined

by the TCPA , and did so without the consent of the persons called.

       98.      Plaintiff seeks nationwide relief on behalf of all similar situated persons in

the United States who can be defined as follows:

                all persons in the United States with United States based
                telephone numbers who were called on their cellular phones
                within the last four years by Defendant where Defendant placed
                the calls using an ATDS or with a pre-recorded message after
                the called parties told Defendant to stop calling.

       99.      All ATDS based calls place to Class Members after Class Members told

Defendant to stop calling should result in liability of $1,500 per offense.

       100.     A defendant in a TCPA action bears the burden of demonstrating consent.

       101.     Accordingly, it is Defendant’s burden and obligation to exclude from these

proposed classes people who consented to the calls and messages in question.

       WHEREFORE, Plaintiff and similarly situated putative Class Members are

entitled to the following relief:

             a. Declare that the telephone calls placed by Defendant violated
                the TCPA;

             b. Award Class Members $1,500 for each violation where there
                calls placed after Class Members told Defendant to stop calling;
                and;

             c. Enjoin future violations of the TCPA.

   VII.      THIS CASE CAN BE MAINTAINED AS A CLASS ACTION

       102.     Plaintiff can satisfy the elements of Federal Rule of Civil Procedure 23.

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       103.   Plaintiff reserves the right to modify the above class definitions in response

to any argument advanced by Defendant that may contend that one or more of the above

classes constitute so-called “failsafe” classes.

          A. Numerosity and Ascertainability

       104.   Numerosity is satisfied because Defendant called at least forty (40)

residents of Illinois in the same manner that Defendant called Plaintiff through-

automated dialing technology prohibited by the TCPA: by (a) automated dialing

technology prohibited by the TCPA – either through an ATDS; (b) without consent of the

person called; (c) after consent was revoked; or (d) after the called party told Defendant

to stop calling.

       105.   Joinder of the hundreds, and likely thousands, of Class Members is

impracticable.

       106.   The putative Class Members can be administratively ascertained from

business records maintained by the Defendant. See, e.g., In re Community Bank of

Northern Virginia Mortg. Lending Practices Litigation, 795 F.3d 380, 397 (3d Cir. 2015)

(finding that the Plaintiff’s proposed class was ascertainable because the defendant

"possesse[d] all of the relevant bank records needed to identify the putative class

members").

          B. Commonality and Predominance

       107.   The elements of is commonality and predominance are satisfied.

       108.   Commonality exists because Defendant acted in a common manner toward

Plaintiff and the proposed Class Members by calling Plaintiff and the proposed Class

Members in the same way: (a) through-automated dialing technology prohibited by the

TCPA – either through an ATDS; and (b) without consent of the person called.




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       109.   Defendant also acted in a common manner Plaintiff and the proposed

Class Members by calling Plaintiff and the proposed Class Members (c) after the called

party told Defendant to stop calling; or (d) after any potential prior consent was revoked.

       110.   There are questions of law and fact common to the claims of Plaintiff and

members of the proposed classes, including;

              a.     whether the dialing systems used by the Defendant qualifies as an
                     ATDS or a predictive dialer under the TCPA;

              b.     whether Defendant violated the TCPA;

              d.     whether Defendant can demonstrate consent; and

              e.     whether the conduct described herein was intentional so as to
                     warrant treble or punitive damages of up to $1,500 per call.

          C. Typicality

       111.   Plaintiff’s claims are typical of the claims of the proposed Class, as the

calls that Defendant placed were the same or substantially similar to those received by

the proposed Class Members.

       112.   Plaintiff and the proposed Class Members’ claims all arise from the same

operative facts and are based on the same legal causes of action.

       113.   Plaintiff and each of the proposed Class Members are all subject to the

same illegal calling techniques employed by Defendant.

          D. Appropriateness and Superiority

       114.   A class action is an appropriate method for the fair and efficient

adjudication of this controversy, and superior to other available methods for the fair and

efficient adjudication of this controversy.

       115.   The common questions of law and fact enumerated above predominate

over questions affecting only individual Class Members.




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      116.   The likelihood that individual Class Members will prosecute separate

actions is remote due to the extensive time and considerable expense necessary to

conduct such litigation, as well as the absence of a fee shifting mechanism.

      117.   As such, the expense and burden of individual litigation would make it

impracticable for proposed Class Members to prosecute their claims individually.

          E. Plaintiff and Class Counsel Are Adequate

      118.   Plaintiff and proposed class counsel will fairly, adequately and vigorously

represent and protect the interests of the proposed Class Members and has/have no

interest antagonistic to those of the putative classes.

      119.   There are no defenses unique to Plaintiff.

      120.   Plaintiff’s lead attorney (James C. Vlahakis) is an experienced consumer

class action litigator. On May 15, 2018, Mr. Vlahakis was was appointed to the Steering

Committee in a nationwide class action against Apple, Inc., In Re: Apple Inc. Device

Performance Litigation, 18-md-02827 (N.D. Cal. May 15, 2018) (Dkt. Entry no. 99).

      121.   Mr. Vlahakis has defended over a hundred consumer-based claims since

1998, and has litigated well over forty TCPA based putative class actions. For example:

          a. In conjunction with class counsel, Mr. Vlahakis has obtained
             Court approval of numerous TCPA class actions. See, e.g., In Re
             Capital One Telephone Consumer Protection Act Litigation, 2012-
             cv-10064 (N.D. Ill.) ($75 million dollar TCPA based automated
             dialing system settlement); Prater v. Medicredit, Inc., 2014-cv-
             0159 ($6.3 million dollar TCPA based automated dialing system
             wrong party settlement); INSPE Associates v. CSL Biotherapries,
             Inc. (N.D. Ill.) ($3.5 million fax based settlement);

          b. Additionally, Mr. Vlahakis (as a former consumer class action
             defense attorney) has gained court approval of dozens of FDCPA
             class actions;

          c. Mr. Vlahakis understands the types of defenses defendants
             typically raise in TCPA class actions. For example, in his former
             role as defense attorney:



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              i.   Mr. Vlahakis defeated a putative plaintiff’s attempt to certify
                   a TCPA class action in Jamison v. First Credit Services, Inc.,
                   290 F.R.D. 92 (N.D. Ill. Mar. 28, 2013), reconsideration
                   denied, 2013 U.S. Dist. LEXIS 105352 (N.D. Ill. July 29,
                   2013); and

              ii. in Pesce v. First Credit Services, Inc., 2012 U.S. Dist. LEXIS
                  188745 (N.D. Ill. June 6, 2012), Mr. Vlahakis has caused a
                  previously certified TCPA class action to be decertified based
                  upon proving up an individualized issue which militated
                  against commonality and typicality;

          d. In litigating TCPA class actions, Mr. Vlahakis has ascertained
             the identities of putative class members individually and in
             conjunction with industry experts;

          e. Mr. Vlahakis has also filed and argued petitions for declaratory
             relief before the FCC;

          f. Mr. Vlahakis has never had a state attorney general or U.S.
             Attorney General for any district object to a case where Mr.
             Vlahakis and class counsel have jointly petitioned a district
             court for certification; and

          g. Lastly, Mr. Vlahakis has utilized third-party class notice
             providers to issue notice and payments to class members.

       122.   Defendant is not aware of any circumstances that would render Mr.

Vlahakis to be unqualified to be class counsel in this case.

          F. Injunctive and Declaratory Relief Are Warranted

       123.   FRCP 23(b)(2) provides that injunctive and declaratory relief are proper

where “the party opposing the class has acted or refused to act on grounds that apply

generally to the class.”

       124.   Here, the above violations apply generally to the proposed classes.

       125.   For the above reasons, this Court should declare Defendant’s misconduct

unlawful and enjoin Defendant from further violating the TCPA.

       126.   As a result of these violations, Plaintiff and each class member is entitled

to $500 per violation and up to $1,500 per violation.




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       WHEREFORE, Plaintiff and similarly situated putative Class Members are

entitled to the following relief:

           a. Declaratory relief in the form of declaring that the telephone
              calls placed by Defendant violated the TCPA;

           b. Awarding statutory damages of at least $500;

           c. Awarding $1,500 for each violation where there calls placed after
              the called parties told Defendant to stop calling; and

           d. Injunctive relief to prohibit future violations of the TCPA.

Plaintiff hereby demands a trial of this civil action by jury.

       Plaintiff SARAH SCHMIEDER, individually
       and on behalf of all others similarly situated,

       /s/ James C. Vlahakis
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